Case 2:12-cr-20043-PKH   Document 383   Filed 06/27/13   Page 1 of 6 PageID #: 2158
Case 2:12-cr-20043-PKH   Document 383   Filed 06/27/13   Page 2 of 6 PageID #: 2159
Case 2:12-cr-20043-PKH   Document 383   Filed 06/27/13   Page 3 of 6 PageID #: 2160
Case 2:12-cr-20043-PKH   Document 383   Filed 06/27/13   Page 4 of 6 PageID #: 2161
Case 2:12-cr-20043-PKH   Document 383   Filed 06/27/13   Page 5 of 6 PageID #: 2162
Case 2:12-cr-20043-PKH   Document 383   Filed 06/27/13   Page 6 of 6 PageID #: 2163
